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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL DIVERSITY, et
 al.

                        Plaintiffs,
                                                        Civil Action No. 21-cv-119 (RDM)
             v.
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, et al.

                        Defendants.


               CERTIFIED INDEX TO THE ADMINISTRATIVE RECORD

        I, Jeaneanne Gettle, am the Director of the Water Division for the U.S. Environmental

Protection Agency, Region 4. I certify to the best of my knowledge and belief and based on the

representations of my staff that the materials listed in the attached index constitute the complete

administrative record in support of EPA’s December 17, 2020 approval of the State of Florida’s

Clean Water Act Section 404 program.

       In witness whereof, I have signed this statement on February 18, 2021, at Decatur, GA.
                                               JEANEANNE         Digitally signed by
                                                                 JEANEANNE GETTLE

                                               GETTLE            Date: 2021.02.18 15:44:50
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                                              Jeaneanne Gettle
                                              Director, Water Division
                                              U.S. Environmental Protection Agency, Region 4
                                              Atlanta, Georgia
